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UNITED STATES DISTRICT COURT Op
SOUTHERN DISTRICT OF CALIFORNIA b-
UNITED STATES OF AMERICA )
Vv. ) Case No: 20-cr-03419-JIS
OSCAR MADDOX, )

APPLICATION FOR WRIT OF HABEAS CORPUS
The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus

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(x) Ad Prosequendum () Ad Testificandum =
Name of Detainee: Oscar Maddox, Booking # 6038115 aa
Detained at (custodian): _ Attention: Warden, NORTH COUNTY CORRECTIONAL FACILIFY
29340 THE OLD ROAD CASTAIC, CA 90012 igi
Detainee is: a.) (x) charged in this district by: WY cA
(x) Indictment () Information ()Complaintro

Charging Detainee With: 21:952, 960; 18:2 - Importation of Methamphetamine: Aiding and Abétting: i

or b.) () a witness not otherwise available by ordinary process of the Court
Detainee will: a.) () return to the custody of detaining facility upon termination of proceedings
or b.) (x) be retained in federal custody until final disposition of federal charges, as a sentence

is currently being served at the detaining facility.

Appearance is necessary for Arraignment on Thursday, November 5, 2020, in the courtroom before Judge

Mitchell D. Dembin at the United States Courthouse, 333 West Broadway San Diego, CA 92101.
| hereby attest and certify on ~\ yt

That the foregoing document is 4 4ull, true and correct
copy of the-original onfile in-may-office-anchin-mytegal CarloyA rguello-

 

Custody. ee AUSA Carlos Arguello
ne N erorrne es 619-546-6684; Carlos.Arguello2@usdoj.gov
i as ern Attorney of Record for: United States of America

 

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——¢xy-Ad Proseqéitdum Q Ad Testificandum
The above application is granted and the above-named custodian, as well as the United States Marshal for this
district, is hereby ORDERED to produce the named detainee, on the date and time recited above, and any further

 

 

 

 

 

proceedings to be had in this cause, and at the conclusion of said proceedings to return said VC
named custodian. GW » \
tel EAL |

Date 11/3/2020 United States Judge "4
Please provide the following, if known:

AKA(s) (if applicable): Oscar Maddox Male(x\ (\Female

Booking or Fed. Reg. #; _9038115 DOB:

Facility Address: NORTH COUNTY CORRECTIONAL Race:

 

29340 THE OLD ROAD CASTAIC, CA 90012 FBI #:

 

Facilitv Phone: (213) 473-6080

Currently Incarcerated For:

 

 

RETURN OF SERVICE

Executed on by

 

(Signature)
